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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                        CASE NO. 20-21553-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

         Plaintiffs,
  v.

  MICHAEL W. MEADE, et al.,

        Defendants.
  __________________________/

                       POST-HEARING ADMINISTRATIVE ORDER

         On May 14, 2020, the Undersigned held a Zoom video hearing on Petitioners’

  Expedited Motion for Class Certification. [ECF Nos. 81; 98]. At the hearing, the

  Undersigned ordered as follows:

         1.     By Monday, May 18, 2020, Petitioners may file an optional memorandum

  of up to five double-spaced pages (excluding case caption, signature block, and certificate

  of service) to address Money v. Pritzker, No. 20-CV-2093, 2020 WL 1820660 (N.D. Ill. Apr.

  10, 2020). If Petitioners do not want to submit a memorandum on Money v. Pritzker, then

  they shall file a short, one-line notice indicating that they will not be filing the

  memorandum.

         If Petitioners choose to file the memorandum, then the Defendants may file a

  response memorandum of up to five double-spaced pages (excluding case caption,
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  signature block, and certificate of service).

         2.       As discussed at the hearing, defense counsel shall check with his client to

  see whether there is any objection to voluntarily producing the blank form/spreadsheet,

  as well as the filled-out forms/spreadsheets reflecting decisions made since the filing of

  this lawsuit.

         If Defendant agrees to voluntarily produce the blank form/spreadsheet, then

  Defendant shall produce it to Petitioners by May 20, 2020. If Defendant agrees to

  voluntarily produce the completed forms/spreadsheets since the lawsuit was filed, then

  Defendant shall have until May 25, 2020 to produce them to Petitioners. Defendant may

  redact any personal or medical information.

         If Defendant does not wish to voluntarily produce the documents, then defense

  counsel shall file a notice indicating Defendant’s decision by May 18, 2020.

         DONE AND ORDERED in Chambers, in Miami, Florida, on May 15, 2020.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




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